     Case 8:07-cr-00200-FJS   Document 104    Filed 04/07/08   Page 1 of 16




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
______________________________________

UNITED STATES OF AMERICA,

                                 Plaintiff,
               vs.                                         8:07-CR-200
                                                               (GLS)
DANNY THERIAULT,

                       Defendant.
______________________________________

APPEARANCES:                                  OF COUNSEL:

FOR THE UNITED STATES:

Hon. Glenn T. Suddaby                         CARL G. EURENIUS
United States Attorney                        Assistant U.S. Attorney
100 South Clinton Street
Syracuse, New York 13261-0663

FOR DANNY THERIAULT:

Office of William J. Gray                     WILLIAM J. GRAY, ESQ.
112 State Street
Albany, New York 12207

Gary L. Sharpe
District Court Judge

                               Decision and Order

I.       Introduction

         Danny Theriault has been charged with marijuana distribution and
  Case 8:07-cr-00200-FJS         Document 104       Filed 04/07/08      Page 2 of 16




importation conspiracies. See Indictment, Dkt. No. 1; see also 21 U.S.C.

§§ 846, 963. Claiming violations of his Fifth and Sixth Amendment rights,

he moves to suppress oral statements he made to police officers. See Dkt.

Nos. 74, 76-77; see also FED. R. CRIM. P. 12(b). For the reasons that

follow, his motion is denied.

II. Facts

       Having considered Theriault’s burden of production, the appropriate

burden of proof, the testimony of Drug Enforcement Administration (“DEA”)

Special Agent Merkel, New York State Police Investigator Snell, New York

State Trooper Levin and Theriault, the suppression hearing exhibits, the

parties’ submissions, records contained in the court docket,1 and having

resolved issues of credibility, the court finds the following essential facts.

See FED. R. CRIM. P. 12(d); see also United States v. Miller, 382 F. Supp.

2d 350, 361-63 (N.D.N.Y. 2005) (burden of production and proof).

       For more than a decade, law enforcement authorities received

information that Theriault and his mother, Jackaleen, were involved with

others in the wide-scale distribution of marijuana. See 4/21/07 Merkel

       1
         While the court may reference documents in the underlying record to make factual
findings pertinent to suppression issues, such findings are typically constrained by evidence
offered at a hearing. When a defendant satisfies his burden of production, the government
bears the burden of proof. The government should not presume that the court will scour the
docket to locate relevant facts.

                                                2
 Case 8:07-cr-00200-FJS   Document 104    Filed 04/07/08   Page 3 of 16




Search Warrant Affidavit at ¶ 5, Dkt. No. 45 (“Merkel Aff.”). After police

gathered additional evidence of Theriault’s narcotics activity from state-

authorized wiretaps and other investigative measures, that evidence was

presented to a federal grand jury which returned a sealed indictment on

April 19, 2007. See Dkt. Nos. 1-3; see also Merkel Aff. A sealed warrant

for Theriault’s arrest was issued when the indictment was filed. See id.

      On April 21, Merkel obtained a federal search warrant for Theriault’s

North Bangor, New York residence. See Merkel Aff.; see also 4/21/07

Search Warrant, Dkt. No. 47 (“Search Warrant”). Merkel informed the

issuing judge that Theriault had previously been convicted of violent crimes

and a drug felony, and that he had expressed a penchant for violence

during intercepted wiretap conversations. See Merkel Aff. at ¶ 5. Merkel

also established reason to believe that Theriault might be armed. See id.

at ¶ 2h. Accordingly, the judge authorized a no-knock warrant, inter alia, in

order to protect the safety of the executing officers. See Search Warrant at

p. 1. During the suppression hearing, Theriault admitted that he had been

previously arrested nineteen times, ten for felonies and two for violent

felonies. See 1/8/08 Suppression Hearing Transcript at 91, Dkt. No. 85




                                      3
  Case 8:07-cr-00200-FJS         Document 104        Filed 04/07/08      Page 4 of 16




(“Hrg. T.”).2

       On April 24, the police executed the arrest and search warrants at

Theriault’s residence.3 Because Theriault was considered armed and

dangerous, the executing officers were accompanied by the New York

State Police Mobile Response Team (“MRT”). Using a battering ram and

carrying a ballistics shield, Trooper Levin and nine other MRT members

made an unannounced entry into the Theriault home at 6:15 A.M. The

MRT members were dressed in black clothing, and wore hoods, goggles

and a helmet. They carried arms at the ready, and immediately yelled that

they were police officers. Within seconds, they located Theriault, his

girlfriend and a baby in a bedroom. Theriault was removed to the living

room, placed on the floor and his hands were secured behind his back by

the equivalent of handcuffs. Once Theriault was secured, the officers

holstered their handguns, and those carrying long arms used slings to

shoulder the weapons. At no time did Levin or any MRT member holler at


       2
         In its supplemental brief, the government detailed Theriault’s serious and violent arrest
record. See 1/22/08 Supplemental Brief at p. 5 n.4, Dkt. No. 86. It suggests that the court may
consider the details of that record because Theriault’s rap sheet was provided to defense
counsel in discovery and because it is available for the court’s review. See id. While defense
counsel may have a copy and it may be available, it is not a part of the court’s docket nor was it
offered in evidence at the suppression hearing. See e.g., fn. 1, supra.
       3
         Theriault’s arrest and the search of his residence were part of the simultaneous arrests
of six others and two additional searches, all at other locations.

                                                4
 Case 8:07-cr-00200-FJS   Document 104    Filed 04/07/08   Page 5 of 16




Theriault, or otherwise make demands regarding the location of weapons,

drugs or money. Within fifteen minutes, the house was secured and the

MRT team left the house and property.

      Merkel and Snell then entered and approached Theriault who was

still on the living room floor. Merkel allowed Theriault to stand, and

explained that the arrest was authorized by warrant, and that the police

also had a search warrant. While Merkel and Snell were armed, their

weapons were holstered. When Merkel told Theriault why the police were

there, Theriault spontaneously stated that he had a baby, he did not want

to go to jail, and he wanted to do whatever he could to get out of his

problem. Merkel then removed Theriault to a patio area outside while the

police completed a weapons search inside. Because it was chilly, Merkel

got Theriault a jacket. Within minutes, the weapons search was completed

and Theriault was returned to the kitchen area where he sat on a stool.

      While on the patio and in the kitchen, Theriault spontaneously tried to

initiate a conversation about cooperation. Merkel advised him to slow

down, and told Theriault that he could not talk to him without first reading

him his Miranda rights. While in the kitchen, Merkel utilized a preprinted

DEA card and read the Miranda warnings verbatim. The substance of the


                                      5
 Case 8:07-cr-00200-FJS    Document 104    Filed 04/07/08   Page 6 of 16




advice was in full compliance with Miranda, including specific advice

regarding Theriault’s right to counsel during questioning and his right to

appointed counsel if he could not afford one. At the end of the Miranda

advice, Merkel asked: “Do you understand and are you willing to answer

some questions?” Theriault responded that he understood his rights and

wanted to talk.

      Theriault remained at the residence with Merkel and Snell for the next

forty-five minutes, and freely spoke to them about his narcotics activity,

including the location of marijuana and money in the residence and in a

vehicle. He answered their questions and spontaneously offered

information.

      After the forty-five minute interval at the residence, Theriault was

transported to the State Police barracks in Malone, New York by Snell and

a uniformed Trooper. The trip took fifteen minutes, and Snell and Theriault

continued to talk about Theriault’s criminal activity.

      At the station, Theriault was placed in an interview room. After a brief

hiatus while other defendants were processed, Snell resumed the

conversation. Again, Theriault was forthcoming about his activity although

he declined to discuss the involvement of his mother and brother. The


                                       6
 Case 8:07-cr-00200-FJS   Document 104    Filed 04/07/08   Page 7 of 16




conversation terminated at approximately 9:30 A.M. Accordingly, all

questions, answers and spontaneous statements occurred in three

separate locations within a span of approximately three hours and fifteen

minutes.

     Whether at the house, in the Troop car or at the station, Theriault

remained cooperative throughout his conversations. While he was initially

agitated during the MRT entry, he was calm during his conversations with

Merkel and Snell. He remained willing to speak, he never requested an

attorney, and he never demonstrated by word or deed any physical or

mental impairment suggesting that he was incapable of making rational

and voluntary decisions. He never mentioned any childhood seizures or

other disorders. No police officer threatened him or made promises of any

kind in order to induce him to waive his Miranda rights, waive his Sixth

Amendment right to counsel, or otherwise speak.

     Theriault testified at the suppression hearing, and submitted an

affidavit in support of his suppression motion. See Hrg. T. 87-103;

11/13/07 Theriault Affidavit, Dkt. No. 77. During the hearing, he admitted

that he knew it was the police who entered his home because they

announced their presence. However, he denied that he was provided


                                      7
  Case 8:07-cr-00200-FJS          Document 104        Filed 04/07/08      Page 8 of 16



Miranda warnings until he was fingerprinted at the barracks, following

which further questioning ceased. He further testified that he then told the

police that he wanted a lawyer. He admitted that he had been arrested on

nineteen prior occasions and was fully conversant with his Miranda rights,

including his rights to remain silent and to an attorney. Because he

understood his rights, he swore that he made no incriminating statements.

Nonetheless, he alternatively stated that any statements he did make were

the by-product of duress. His duress claims were predicated solely on the

overwhelming show of police force at the time of his arrest and non-

Mirandized police questioning.4 Other than the details of MRT’s forcible

entry, the court credits none of Theriault’s other assertions, including those

alleging non-Mirandized police interrogation.

III. Analysis

       Theriault argues that his statements must be suppressed because:

(1) they were elicited in the absence of counsel in violation of the Sixth

Amendment; (2) they were induced by custodial interrogation in the

absence of Miranda warnings and without an intelligent and voluntary



       4
        In a legal memorandum, Theriault’s attorney claimed that Theriault was incapable of
voluntarily waiving his Fifth and Sixth Amendment rights because of a traumatic brain injury
suffered when Theriault was six years old. See 11/9/07 Memorandum of Law, Dkt. No. 74.
There is no evidentiary support for that claim in Theriault’s affidavit or in his suppression hearing
testimony. See Theriault Aff., Dkt. No. 77; Hrg. T. 87-103.

                                                 8
 Case 8:07-cr-00200-FJS     Document 104    Filed 04/07/08   Page 9 of 16



waiver of the rights encompassed by those warnings, in violation of the

Fifth Amendment’s self-incrimination clause; and (3) they were involuntarily

induced in violation of the Fifth Amendment’s due process clause.

      The Sixth Amendment provides that “[i]n all criminal prosecutions, the

accused shall enjoy the right ... to have the Assistance of Counsel for his

defence.” U.S. CONST. amend. VI. The right attaches at the initiation of

adversary judicial proceedings such as indictment, and extends to all

critical stages of a criminal prosecution, including post-indictment

interviews with the police. See Fellers v. United States, 540 U.S. 519, 523

(2004); United States v. Rommy, 506 F.3d 108, 135 (2d Cir. 2007). Unlike

the Fifth Amendment’s Miranda jurisprudence which focuses on custodial

interrogation, the Sixth Amendment focuses on the intentional effort of the

police to obtain incriminating statements, or in other words, “deliberate

elicitation.” See Fellers, 540 U.S. at 524; Rommy, 506 F.3d at 135.

Deliberate elicitation occurs if the police stimulate the conversation, or take

some action designed to deliberately elicit incriminating remarks. See

Kuhlmann v. Wilson, 477 U.S. 436, 459 (1986). There is no deliberate

elicitation if the police passively listen, or if a suspect volunteers

statements. See id. (passive listening); Michigan v. Harvey, 494 U.S. 344,

352 (1990) (volunteered statements). The Sixth Amendment is not violated


                                        9
 Case 8:07-cr-00200-FJS   Document 104     Filed 04/07/08   Page 10 of 16



if the police initiate contact, as long as they do not initiate statements. See

Patterson v. Illinois, 487 U.S. 285, 290-91 (1988). Once the right to

counsel attaches, deliberately elicited statements are inadmissible unless

the defendant expressly waives the right. See Harvey, 494 U.S. at 348;

Rommy, 506 F.3d at 135-36. A voluntary and knowledgeable Miranda

waiver equally serves as a Sixth Amendment right to counsel waiver. See

Patterson, 487 U.S. at 292-93.

      As for the Fifth Amendment and Miranda, there are typically three

issues: whether Miranda warnings were necessary; if so were they

adequate; and if so, did the defendant waive his rights. See United States

v. McFarland, 424 F. Supp. 2d 427, 434-35 (N.D.N.Y. 2006) (citation

omitted). The warnings are necessary if the defendant is subjected to

custodial interrogation. See United States v. O’Brien, 498 F. Supp. 2d 520,

533 (N.D.N.Y. 2007). The warnings are adequate if the police warn the

suspect “that he has the right to remain silent, that anything he says can be

used against him in a court of law, that he has the right to the presence of

an attorney, and that if he cannot afford an attorney one will be appointed

for him prior to any questioning if he so desires.” Miranda v. Arizona, 384

U.S. 436, 479 (1966); accord Dickerson v. United States, 530 U.S. 428,

433-44 (2000) (revisiting and affirming Miranda).


                                      10
 Case 8:07-cr-00200-FJS   Document 104     Filed 04/07/08   Page 11 of 16



      As the court has previously observed, the third inquiry - Miranda

waiver - hinges on whether the rights were voluntarily, knowingly and

intelligently waived, but that analysis significantly overlaps with the due

process inquiry which focuses on whether the statements were coerced or

voluntary. See McFarland, 424 F. Supp. 2d at 433-36; O’Brien, 498 F.

Supp. 2d at 533-34. Thus, the subjects of the inquiry - rights versus

statements - are different, but the legal standard and the factors to be

evaluated are the same. As to the Miranda waiver, the inquiry is two-fold:

whether the defendant relinquished his rights because he made a free and

deliberate choice to do so, or whether his choice was influenced by

intimidation, coercion or deception; and whether the defendant was aware

of the rights he was abandoning and the consequences of doing so. See

McFarland, 424 F. Supp. 2d at 435 (citations omitted). On the other hand,

the due process inquiry is whether the decision to speak reflected the

defendant’s free and unconstrained choice to do so, or whether his will

succumbed to overbearing circumstances. Id. at 436 (citing Dickerson, 530

U.S. at 434; Green v. Scully, 850 F.2d 894, 900 (2d Cir. 1988)).

      In order to resolve these issues, the court must assess the totality of

the circumstances surrounding the interaction of the police and the

defendant, including the police conduct, the conditions of the waiver and


                                      11
 Case 8:07-cr-00200-FJS   Document 104     Filed 04/07/08   Page 12 of 16



interrogation, and the characteristics of the accused. See O’Brien, 498 F.

Supp. 2d at 534 (citation omitted). Police conduct includes physical abuse,

psychological coercion, threats, and material misrepresentations, or

affirmative acts of trickery or deceit. See id. Conditions of the waiver and

interrogation include the existence of Miranda warnings themselves, the

place of the waiver or interrogation, the duration and conditions of the

interaction, the attitude of the police, and the presence of counsel.

Characteristics of the accused include his experience, background, age,

education, intelligence, and physical and mental state. See McFarland,

424 F. Supp. 2d at 437. No single factor is controlling.

      Other legal principles are intertwined in the analysis. Thus, an

involuntary Miranda waiver creates a presumption of coercion which

renders the subsequent statement inadmissible even though that statement

might otherwise be voluntary. See McFarland, 424 F. Supp. 2d at 434

(citation omitted). By the same token, if the police comply with Miranda’s

requirements, a defendant is hard pressed to argue that the subsequent

statement is coerced. Id.

      Given the court’s factual findings, Theriault’s statements are

admissible because the government has satisfied its burden of proving that

there were no Fifth or Sixth Amendment violations. Since Theriault had


                                      12
 Case 8:07-cr-00200-FJS   Document 104     Filed 04/07/08   Page 13 of 16



been indicted, a critical stage had been reached. Therefore, his

statements are admissible only if he waived his right to counsel before the

police deliberately elicited the statements. Furthermore, he was in custody

when interrogated, and his subsequent statements are admissible only if

he was first advised of his Miranda rights, he then voluntarily,

knowledgeably and intelligently waived them, and he thereafter exercised

his free and unconstrained choice to speak.

      At 6:15 A.M., Theriault was confronted with an overwhelming show of

authority accomplished by means of a forcible, armed entry. While the

average citizen might be traumatized by that experience, Theriault was not.

As he testified, he immediately knew it was the police because they

announced their authority. He had been arrested on nineteen prior

occasions, and was no stranger to police confrontations or arrest

procedures, including hand restraints. Within fifteen minutes, the MRT left

the house and property without any deliberate effort to elicit statements

from Theriault. When Merkel and Snell first approached Theriault in the

living room, they explained their presence and the authority of the arrest

and search warrants. Neither Merkel nor Snell sought to deliberately elicit

statements from Theriault by any means. Although agitated by the arrest,

Theriault completely understood his situation. Within minutes, he


                                      13
 Case 8:07-cr-00200-FJS         Document 104        Filed 04/07/08     Page 14 of 16



spontaneously began to speak about cooperation, and Merkel had to

interrupt him in order to Mirandize him.

       Utilizing a DEA Miranda card, Merkel fully apprized Theriault of his

rights.5 As Theriault testified and given his extensive criminal record, he

was fully conversant with his Miranda rights in any event. When those

rights were read to him, he acknowledged that he understood them and he

affirmatively agreed to speak. Thus, the advice was given, Theriault

understood it, and he agreed to speak. Furthermore, neither Merkel nor

Snell did anything to deliberately elicit statements from Theriault prior to

Mirandizing him. Accordingly, if his Miranda waiver was voluntary, then he

also validly waived his Sixth Amendment right to counsel.6

       The remaining question is whether the police conduct, the conditions

of the waiver and interrogation, and Theriault’s characteristics - viewed in

their entirety - reflect Theriault’s voluntary choice to waive his rights and

speak. While the initial entry was stressful, no other factor suggests

coercion. After the MRT team left, all police firearms were holstered.



       5
       The testimony of the police and Theriault is irreconcilable regarding the issuance of
Miranda warnings. The court concludes that Theriault committed perjury.
       6
         Although the parties have not raised it, the court recognizes the Elstad issue unresolved
in the Supreme Court’s Fellers decision. See Fellers, 540 U.S. at 525 and Oregon v. Elstad,
470 U.S. 298 (1985). However, it is unnecessary to address the issue because the court has
factually concluded that there was no intentional effort to deliberately elicit statements from
Theriault before he was advised of his Miranda rights.

                                               14
 Case 8:07-cr-00200-FJS   Document 104     Filed 04/07/08   Page 15 of 16



Theriault was given a warm jacket when he was outside. Theriault offered

spontaneous information, and calmly and cooperatively answered

questions. Theriault not only expressed a full understanding of his

constitutional rights, but he exercised his rights by declining to disclose

information about his mother and brother. At no time throughout the

encounter did any police officer threaten him, deceive him or make any

promises to induce him to waive his rights or speak. He never

demonstrated by words or actions that he did not comprehend his rights,

nor did he ever request counsel. Lastly, the fact that Theriault’s post-

Miranda statements followed an intelligent, knowledgeable and voluntary

waiver of those rights provides cogent evidence of the voluntariness of the

subsequent statements themselves. Accordingly, there were no

constitutional violations and Theriault’s statements are admissible.

VI. Conclusion

      For the reasons recited herein, it is hereby

      ORDERED that Theriault’s motion to suppress statements (Dkt. No.

74) is DENIED; and it is further

      ORDERED that the government is hereby granted permission to

renew its motion for a severance (Dkt. Nos. 64, 66-67) on or before April

21, 2008.

                                      15
 Case 8:07-cr-00200-FJS   Document 104    Filed 04/07/08   Page 16 of 16



     SO ORDERED.

Date: April 7, 2008
Albany, New York




                                     16
